                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF ALASKA


KLOOSTERBOER INTERNATIONAL                     )
FORWARDING LLC and ALASKA REEFER               )
MANAGEMENT LLC,                                )
                          Plaintiffs,          )
                                               )               Case No.: 3:21-cv-00198-SLG
                    vs.                        )
                                               )
UNITED STATES OF AMERICA, U.S.                 )               DECLARATION OF
DEPARTMENT OF HOMELAND SECURITY, U.S. )                        KEVIN ANDERSON
CUSTOMS AND BORDER PROTECTION, and TROY)
A. MILLER, U.S. Customs and Border Protection  )
Acting Commissioner, in his official capacity, )
                                                           )
                                      Defendants.          )



       Pursuant to 28 U.S.C. § 1746, I hereby declare as follows:

        1.      I am the president of Alaska Marine Lines, Inc. ("AML"), a part of the family-

owned Lynden group of transportation companies. AML is a U.S. citizen owned, coastwise

qualified barge line, primarily engaged in the noncontiguous trade between the lower 48 states and

Alaska, including the port of Dutch Harbor, Alaska.

       2.      AML has been operating since 1980.

       3.      AML routinely transports equipment, supplies and other merchandise to

communities throughout Alaska in support of fishing activities and also routinely transports

seafood products from Alaska to Seattle.

       4.      AML currently operates more than 29 barges registered with the U.S. Coast Guard,

referred to as "U.S.-flag" vessels. AML's vessels are all coastwise qualified and all have coastwise

endorsements on their vessel documents making them eligible to transport merchandise between

two points in the United States.



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          5.       AML is one of several ocean transportation providers serving Alaska with qualified

U.S.-flag vessels, and carries a material portion of the cargo moving from Dutch Harbor to Seattle.

          6.       AML is a strong supporter of the Jones Act and believes that it should be enforced

to achieve its intent of helping ensure the security and economic independence of the United States

through a robust U.S. domestic shipbuilding capacity, a robust U.S. domestic merchant marine,

and employment for U.S. citizen mariners.

          7.       AML and its employees are financially harmed when cargoes reserved to qualified

U.S.-flag vessels by the Jones Act are diverted to foreign-flag vessels in violation of the Jones Act.

          8.       AML and other coastwise qualified carriers have ample capacity to provide prompt

and timely service between Alaska and Seattle to transport all the seafood products produced in

Alaska.

          9.       AML has to date been able to accommodate all booking requests for the

transportation of seafood products from Alaska to the lower 48 states.

          10.      With reasonable notice and planning, U.S. railroads will clear logistical bottlenecks

that may be currently limiting their capacity, and will be able to efficiently move seafood products

from Seattle to the eastern seaboard.

          I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

          Dated: September 9, 2021




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